Case 1:12-cr-00102-TWP-TAB          Document 2569         Filed 01/16/14      Page 1 of 6 PageID #:
                                           12238



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                          )
                                                     )
                               Plaintiff,            )
                                                     )
                       v.                            ) Case No. 1:12-cr-00102-TWP-DML
                                                     )
  MICHAEL A. KNOLL (02),                             )
  DAX G. SHEPHARD (43),                              )
                                                     )
                               Defendants.           )
                                                     )
  BOB HENSON, and                                    )
  J.T. COLLETT,                                      )
                                                     )
                              Intervenors.           )

                               ENTRY ON PENDING MOTIONS

        This matter is before the Court on Petitions for Relief from Preliminary Order of

 Forfeiture for Defendants Michael Knoll (Dkt. 2263) and Dax Shephard (Dkt. 2322), filed by

 Intervenors’, Bob Henson and J.T. Collett. Each petition includes a request for hearing. The

 Government has moved to dismiss the petitions (Dkts. 2437 and 2362) for failure to satisfy the

 statutory requirement that such a petition shall be signed by the petitioner under penalty of

 perjury. In response, Intervenors have filed for leave to refile their petitions with an affirmation

 under penalty of perjury (Dkt. 2437). The Government has further moved for final forfeiture of

 Defendant Michael Knoll’s interest in the Indianapolis property at issue (Dkt. 2444) and of

 Defendant Dax Shephard’s interest in the Fort Wayne property at issue (Dkt. 2445).

 Additionally, Intervenors have filed a Motion for Discovery (Dkt. 2496). Intervenors have also

 filed a successive petition to vacate or amend forfeiture (Dkt. 2530).
Case 1:12-cr-00102-TWP-TAB         Document 2569        Filed 01/16/14      Page 2 of 6 PageID #:
                                          12239



                                      I. BACKGROUND

        Michael Knoll and Dax Shephard were charged along with 49 other persons in a forty-six

 count Superseding Indictment. Mr. Knoll was charged with one count of Racketeering

 Influenced and Corrupt Organizations (“RICO”) and related offenses, and the indictment sought

 the forfeiture of real estate located at 305 North Jefferson Avenue and 2202–2204 East New

 York Street, Indianapolis, Indiana, pursuant to 18 U.S.C. §§ 1963(a)(1), (a)(2), and (a)(3). On

 July 25, 2013, the Court accepted Mr. Knoll’s plea agreement with the Government that

 contained pleas of guilty to Counts One, Six, and Eight of the Superseding Indictment and an

 agreement to forfeit the real estate located at 305 North Jefferson Avenue and 2202–2204 East

 New York Street to the United States. Mr. Knoll was adjudged guilty as charged and the Court

 ordered the forfeiture of Mr. Knoll’s interest in the real estate located at 305 North Jefferson

 Avenue and 2202–2204 East New York Street. On August 18, 2013, the Government filed a

 Motion for Preliminary Order of Forfeiture, which the Court granted on August 19, 2013. The

 Court the ordered the Government to serve notice of its intent to forfeit these properties

 following the procedure in United States v. James Daniel Goode Real Property, 510 U.S. 43

 (1993). On September 13, 2013, the United States Marshals Service complied with the Court’s

 order. On October 11, 2013, Intervenors filed a Petition for Relief from the Preliminary Order of

 Forfeiture.

        Mr. Shephard was charged in the Superseding Indictment with one count of RICO and

 the indictment sought the forfeiture of real estate located at 1202 West Main Street, Fort Wayne,

 Indiana, pursuant to 18 U.S.C. §§ 1963(a)(1), (a)(2), and (a)(3). On August 15, 2013, the Court

 accepted Mr. Shephard’s plea agreement with the Government which contained a plea of guilty

 to Count One and an agreement to forfeit the real estate located at 1202 West Main Street to the



                                                2
Case 1:12-cr-00102-TWP-TAB          Document 2569         Filed 01/16/14     Page 3 of 6 PageID #:
                                           12240



 United States. The Court adjudged Mr. Shephard guilty as charged, sentenced him, and ordered

 the forfeiture of his interest in the real estate located at 1202 West Main Street. On August 18,

 2013, the Government filed a Motion for Preliminary Order of Forfeiture, which the Court

 granted on August 20, 2013. The Court ordered the Government to serve notice of its intent to

 forfeit this property following the procedure in United States v. James Daniel Goode Real

 Property, 510 U.S. 43 (1993). On October 3, 2013, the United States Marshals Service complied

 with the Court’s order. On October 29, 2013, Intervenors filed a timely Petition for Relief from

 the Preliminary Order of Forfeiture.

                                        II. DISCUSSION

        The RICO statute provides that any person who violates the RICO statute shall forfeit to

 the United States any interest in, security of, claim against, or property which the person used to

 violate 18 U.S.C. § 1962. 18 U.S.C. § 1963(a). It further provides that, “[a]ny person, other than

 the defendant, asserting a legal interest in property which has been ordered forfeited to the

 United States” may “petition the court for a hearing to adjudicate the validity of his alleged

 interest in the property.” 18 U.S.C. § 1963(l)(2). This provision requires that the “petition shall

 be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of

 the petitioner’s right, title, or interest in the property, the time and circumstances of the

 petitioner’s acquisition of the right, title, or interest in the property, any additional facts

 supporting the petitioner’s claim, and the relief sought.” 18 U.S.C. § 1963(l)(3).

        Both the petitions filed in Mr. Knoll’s case and Mr. Shephard’s case by Intervenors failed

 to comply with 18 U.S.C. § 1963(l)(3), because they were not signed under penalty of perjury.

 For this reason—and this reason alone—the Government seeks dismissal of the petitions. The

 Government is correct that the petitions are statutorily deficient and they must therefore be



                                                  3
Case 1:12-cr-00102-TWP-TAB           Document 2569         Filed 01/16/14      Page 4 of 6 PageID #:
                                            12241



 DISMISSED, but without prejudice. The Petitions for Relief for Forfeiture in Mr. Knoll’s

 case (Dkt. 2263) and Mr. Shephard’s case (Dkt. 2322) are DENIED, and the Government’s

 Motions to Dismiss the petitions in Mr. Knoll’s case (Dkt. 2361) and Mr. Shephard’s case (Dkt.

 2362) are GRANTED.

        However, Intervenors have filed an affirmation under penalty of perjury and seek leave to

 refile their petitions. The Government has not argued persuasively that the request to refile

 should be denied. In the best interests of justice, the Court will GRANT Intervenors’ request to

 refile their petitions. However, it is not sufficient to include a separate affirmation, as was filed

 at docket entry 2437. Instead, Intervenors are ORDERED, within fourteen (14) days of the

 date of this Entry, to refile the entirety of their petitions signed under penalty of perjury.

 Therefore, the Motion for Forfeiture of the Indianapolis real estate (Dkt. 2444) and the Motion

 for Forfeiture of the Fort Wayne real estate (Dkt. 2445) are DENIED.

        Further, the Court will GRANT Intervenors’ Motion for Discovery (Dkt. 2496). The

 Government’s only objection to this motion was that it was untimely. Having now ruled on the

 above motions, the Court finds the requests for discovery are reasonable.

        Finally, the Court finds upon its own motion that Intervenors’ Consolidated

 Memorandum and Petition to Vacate or Amend Preliminary Orders of Forfeiture Pursuant to 18

 U.S.C. § 1963(l) and Federal Rules of Criminal Procedure 32.2(C) and Request for Hearing

 (Dkt. 2530) is duplicative. Therefore, it is STRICKEN.

                                        III. CONCLUSION

        Accordingly, the Court GRANTS the following motions:

        •   Motion to Dismiss Petition for Relief from Preliminary Order of Forfeiture (Dkt.

            2361). Intervenors’ are granted leave to refile their petition within fourteen (14) days



                                                  4
Case 1:12-cr-00102-TWP-TAB          Document 2569         Filed 01/16/14     Page 5 of 6 PageID #:
                                           12242



            of the date of this Entry, including the petitions and an affirmation under penalty of

            perjury.

        •   Motion to Dismiss Petition for Relief from Preliminary Order of Forfeiture (Dkt.

            2362); Intervenors’ are granted leave to refile their petition within fourteen (14) days

            of the date of this Entry, including the petitions and an affirmation under penalty of

            perjury.

        •   Motion to Allow Refiling of Petitions for Relief (Dkt. 2437); and

        •   Motion for Discovery (Dkt. 2496).

 The Court DENIES the following motions:

        •   Petition for Relief from Preliminary Order of Forfeiture (Dkt. 2263);

        •   Petition for Relief from Preliminary Order of Forfeiture (Dkt. 2322);

        •   Motion for Forfeiture of Property (Dkt. 2444); and

        •   Motion for Forfeiture of Property (Dkt. 2445).

 The following motion is STRICKEN:

        •   Consolidated Memorandum and Petition to Vacate or Amend Preliminary Orders of

            Forfeiture Pursuant to 18 U.S.C. § 1963(l) and Federal Rules of Criminal Procedure

            32.2(C) and Request for Hearing (Dkt. 2530).

        Finally, if Intervenors’ elect to re-file their petitions, including an affirmation under

 penalty of perjury, within fourteen (14) days of the date of this Entry, pursuant to 18 U.S.C.

 1963(l) the Court will hold a hearing on the motions.

        SO ORDERED.
        01/16/2014
 Date: ______________
                                                         ________________________
                                                         Hon. Tanya Walton Pratt, Judge
                                                         United States District Court
                                                         Southern District of Indiana
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Case 1:12-cr-00102-TWP-TAB   Document 2569   Filed 01/16/14   Page 6 of 6 PageID #:
                                    12243



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                                      6
